                Case 4:24-cr-00193-JST Document 9 Filed 06/24/24 Page 1 of 2




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 8                                                                
   Attorneys for United States of America
 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                          OAKLAND DIVISION
12

13   UNITED STATES OF AMERICA,                         )   CASE NO. 4:24-CR-0193-JST
                                                       )
14           Plaintiff,                                )   MOTION TO PARTIALLY UNSEAL
                                                       )   AND INITIATE ELECTRONIC FILING
15      v.                                             )   AND ORDER
                                                       )
16   ADI MICLESU,                                      )
                                                       )
17           Defendant.                                )
                                                       )
18

19                   On March 28, 2024, the United States obtained an Indictment containing four counts
20 against two defendants. The Indictment was sealed at the government’s request because, at the time, both

21 of the charged defendants had not yet been arrested. One of the defendants has since been arrested and

22 made his initial appearance in the Northern District of California on June 17, 2024. In order to facilitate

23 the administration of the case, the United States now moves to partially unseal the Indictment as to

24 MICLESU only. Attached here as Exhibit A is the Indictment with proposed redactions. The redacted

25 information relates to the defendant who is not yet in custody. The redactions will serve to protect against

26 the risk of flight and the potential destruction of evidence. The redactions will also ensure agents safety

27 in the execution of the outstanding arrest warrant.

28           The United States respectfully requests that the Court direct the Clerk’s Office to file the redacted

     MOTION TO PARTIALLY UNSEAL AND ORDER
     4:24-CR-0193-JST                                  1
               Case 4:24-cr-00193-JST Document 9 Filed 06/24/24 Page 2 of 2




 1 Indictment on ECF and designate the case for electronic filing.

 2

 3 DATED: June 21, 2024                                          Respectfully submitted,

 4                                                               ISMAIL J. RAMSEY
                                                                 United States Attorney
 5

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                                                                 __/S/______________________
 7                                                               KELSEY C. DAVIDSON
                                                                 Assistant United States Attorney
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 9
                                                     ORDER
10
            Based upon the motion of the United States and for good cause shown, the United States’ motion
11
     to partially unseal the Indictment is GRANTED. The Clerk’s Office is hereby ordered to file the redacted
12
     Indictment on ECF and designate the case for electronic filing.
13
        IT IS SO ORDERED.
14

15

16
                -XQH
     DATED: _____________________                        ________________________________
17                                                       HON. KANDIS A. WESTMORE
                                                         United States Magistrate Judge
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     MOTION TO PARTIALLY UNSEAL AND ORDER
     4:24-CR-0193-JST                                2
